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                        EXHIBIT 82
                 Case 1:24-cv-00648-AA Inappropriate
                                          Document   conversations with the kids
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         Subject: Inappropriate conversations with the kids
         From: Heidi Brown <heidimparis@gmail.com>
         Date: 08/06/2024, 20:15
         To: Arnaud Paris <aparis@sysmicfilms.com>

         Arnaud,

         I am sad to see that you continued to question the girls about our home address over and
         over again on the call with them last Saturday. You are well aware that you no longer have
         the right to know my address per the General Judgment of Default and this puts the girls in a
         terribly uncomfortable situation. Interrogating the kids like this is entirely inappropriate and
         raises some serious security concerns. This has to stop.

         As I mentioned over the phone, I am going to pause communications for a couple weeks and
         in the meantime would like some assurance from you that you will cease questioning the
         girls about our address as well as discussing any legal matters.

         Heidi




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